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                EXHIBIT 3
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                                               Counsel for Defendant
                                          11   TWITCH INTERACTIVE, INC.

                                          12                                  UNITED STATES DISTRICT COURT
F ENWICK & W EST LLP




                                                                        NORTHERN DISTRICT OF CALIFORNIA
                       ATTORNEYS AT LAW




                                          13

                                          14   IN RE PERSONALWEB TECHNOLOGIES, LLC,               Case No. 5:18-md-02834-BLF
                                               ET AL., PATENT LITIGATION
                                          15

                                          16   PERSONALWEB TECHNOLOGIES, LLC and                  Case No. 5:18-cv-05619-BLF
                                               LEVEL 3 COMMUNICATIONS, LLC,
                                          17                                                      RESPONSES AND OBJECTIONS OF
                                                                Plaintiffs,                       TWITCH INTERACTIVE, INC. TO
                                          18                                                      PERSONALWEB TECHNOLOGIES,
                                                     v.                                           LLC’S THIRD SET OF REQUESTS
                                          19                                                      FOR PRODUCTION (NOS. 84–115)
                                               TWITCH INTERACTIVE, INC.,
                                          20
                                                                Defendant.
                                          21

                                          22   PROPOUNDING PARTY:                     PERSONALWEB TECHNOLOGIES, INC.
                                          23   RESPONDING PARTY:                      TWITCH INTERACTIVE, INC.

                                          24   SET NUMBER:                            THREE (84–115)

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                                               TWITCH’S RESPONSES AND OBJECTIONS TO                              CASE NO. 5:18-md-02834-BLF
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                                           1           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Twitch Interactive,

                                           2   Inc. (hereafter, “Twitch”), by and through their counsel, hereby responds to Plaintiffs, of

                                           3   PersonalWeb Technologies, LLC (“PersonalWeb”), Third Set of Requests for Production (Nos. 84-

                                           4   115) as follows:

                                           5                                       GENERAL OBJECTIONS

                                           6           The following general objections are stated with respect to each and every document request

                                           7   whether or not specifically identified in response thereto. To the extent any of these general

                                           8   objections are not raised in any particular response, Twitch does not waive those objections.

                                           9           1.      Twitch objects to each and every definition and request as overly broad, unduly

                                          10   burdensome, and not proportional to the needs of the case because they are not limited to a specific

                                          11   geographic area. Twitch will only provide discovery with respect to the United States.

                                          12           2.      Twitch objects to the definitions of “You,” “Your,” or “Twitch” because it seeks to
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                                          13   broaden the scope of allowable discovery and seeks information that is not within the possession,

                                          14   custody, or control of Twitch, but is in the possession of third-parties and non-parties to this lawsuit.

                                          15   Twitch further objects to the definition of these terms to the extent it includes Twitch’s attorneys

                                          16   and patent agents and seeks privileged and attorney-work product information. Twitch will

                                          17   interpret these terms as referring to Twitch Interactive, Inc. only.

                                          18           3.      Twitch objects to the definition of “Accused Instrumentality” because it seeks to

                                          19   broaden the scope of allowable discovery and seeks information relating to all of Twitch’s web

                                          20   servers, beyond the scope of the accused technology in this action. Twitch will interpret this term

                                          21   as referring to Twitch.tv only.

                                          22           4.      Twitch objects to the definition of “Content-Based ETag” as vague and ambiguous,

                                          23   overly broad, unduly burdensome, and not proportional to the needs of the case, as it does not

                                          24   identify the item or feature with specificity. Twitch will interpret this term as an ETag calculated

                                          25   based on contents of a corresponding file.

                                          26           5.      Twitch objects to the definition of “Fingerprint” as vague and ambiguous, overly

                                          27   broad, unduly burdensome, and not proportional to the needs of the case, as it does not identify the

                                          28   item or feature with specificity. Twitch will interpret this term as a Ruby on Rails fingerprint or a

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              1                       CASE NO. 5:18-md-02834-BLF
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                                           1   similar value that is calculated via a hash algorithm and that renders the name of a file dependent

                                           2   on the contents of the file.

                                           3           6.      Twitch objects to the definition of “Cache-Busting” as vague, ambiguous, overly

                                           4   broad, unduly burdensome, and not proportional to the needs of the case as it does not identify the

                                           5   item or feature with specificity, and PersonalWeb does not explain what is meant by “valid”

                                           6   content.

                                           7           7.      Twitch objects to the definition of “Relevant Time Period” as overly broad, unduly

                                           8   burdensome, and not proportional to the needs of the case. Twitch will interpret this phrase as

                                           9   meaning from September 14, 2012 to December 26, 2016.

                                          10           8.      Twitch objects to the definition of “Meeting” as overly broad and unduly

                                          11   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                          12   describe the information sought with reasonable particularity.
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                                          13           9.      Twitch objects to the definition of “Document” as overly broad and unduly

                                          14   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                          15   describe the information sought with reasonable particularity. Twitch will not search for documents

                                          16   that are not within its possession, custody, or control.

                                          17           10.     Twitch objects to the definition of “Thing” as overly broad and unduly burdensome,

                                          18   vague and ambiguous, not proportional to the needs of this case, and failing to describe the

                                          19   information sought with reasonable particularity.

                                          20           11.     Twitch objects to these requests and definitions to the extent that they seek to impose

                                          21   duties beyond those required by the Federal Rules of Civil Procedure and the Local Rules of this

                                          22   district. Twitch’s responses shall be made only in accordance with the applicable rule(s).

                                          23           12.     Twitch objects to these requests to the extent that they seek information equally

                                          24   available to PersonalWeb in the public domain or that is already in the possession, custody, or

                                          25   control of PersonalWeb.

                                          26           13.     Twitch objects to these requests to the extent that they seek information that is in

                                          27   the possession, custody, or control of parties over whom Twitch has no control.

                                          28           14.     Twitch objects to each and every instruction, definition, and request to the extent

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                                           1   that it seeks the disclosure of information protected by the attorney-client privilege, the attorney

                                           2   work-product doctrine, or any other applicable privilege, immunity, or protection, as provided by

                                           3   any applicable law. Twitch does not intend to disclose such privileged or protected information.

                                           4   Twitch’s inadvertent disclosure of any such information should not be deemed a waiver of any

                                           5   privilege, immunity, or protection, and Twitch expressly reserves the right to object to the

                                           6   introduction at trial or to any other use of such information that may be inadvertently disclosed.

                                           7   Twitch objects to discovery of attorney-client privileged communications after the filing of this

                                           8   lawsuit and to discovery of work-product materials generated after the filing of this lawsuit.

                                           9          15.     Twitch objects to these requests to the extent they purport to include email. Email

                                          10   production is not required in patent cases, and any request for email is unduly burdensome and not

                                          11   proportional to the needs of the case. (See, e.g., Court’s [Model] Stipulation & Order Re: Discovery

                                          12   of Electronically Stored Information for Patent Litigation (“General ESI production requests . . .
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                                          13   shall not include email or other forms of electronic correspondence.”).)

                                          14          16.     The responses given herein shall not be deemed to waive any claim of privilege or

                                          15   immunity Twitch may have as to any response, document, or thing, or any question or right of

                                          16   objection as to authenticity, competency, relevancy, materiality, admissibility, or any other

                                          17   objection Twitch may have as to a demand for further response to these or other requests, or to any

                                          18   objection to the use of such information, documents, or things in any other proceeding filed after

                                          19   the production of such information or documents.

                                          20          17.     Nothing contained herein may be construed as an admission relative to the existence

                                          21   or non-existence of any document, and no response may be construed as an admission with respect

                                          22   to the relevancy or admissibility in evidence of any statement or characterization contained in these

                                          23   requests or respecting the authenticity, competency, relevancy, materiality, or admissibility of any

                                          24   document or thing referenced by these requests.

                                          25          18.     Discovery in this matter is ongoing and Twitch reserves the right to revise or

                                          26   supplement any response herein.

                                          27          19.     These General Objections are applicable to and are incorporated in each specific

                                          28   response herein without further reference. The inclusion of specific objection(s) in response to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             3                      CASE NO. 5:18-md-02834-BLF
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                                           1   Requests for Production shall not be construed as a waiver of such objection(s), or any of these

                                           2   objections, in any other response.

                                           3                                    RESPONSES AND OBJECTIONS
                                           4          Subject to the foregoing General Objections, which are incorporated by reference as if set

                                           5   forth fully in each and every response, Twitch also specifically responds and objects to the

                                           6   Document Request as follows:

                                           7   REQUEST FOR PRODUCTION NO. 84:

                                           8          All Documents reflecting any use of HTTP by the Accused Instrumentality to deny content

                                           9   requested by a Twitch customer or end user who has not paid for the content and/or does not have

                                          10   a subscription to access the content.

                                          11   RESPONSE TO REQUEST FOR PRODUCTION NO. 84:

                                          12          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch
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                                          13   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          14   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          15   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          16   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          17   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          18   applicable order of the Court.

                                          19          Twitch objects to this request to the extent it seeks information that is subject to any

                                          20   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          21   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          22   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          23   users. Twitch does not intend to provide such information without the consent of the relevant

                                          24   persons or a court order.

                                          25          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          26   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          27   Instrumentality” as Twitch.tv only.

                                          28          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             4                      CASE NO. 5:18-md-02834-BLF
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                                           1   any claim or defense in this action nor proportional to the needs of the case. The accused

                                           2   instrumentality is a website which necessarily uses HTTP, the required industry standard. Thus,

                                           3   this request seeks information that is not accused or related to any infringement theories.

                                           4          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           5   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                           6   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                           7   Documents reflecting any use of HTTP by the Accused Instrumentality” without connection to any

                                           8   accused functionality in the case.

                                           9          Subject to and without waiving any objections, Twitch responds as follows:

                                          10          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                          11   technical design, operation, and functionality of the accused features of Twitch.tv during the time

                                          12   period of September 14, 2012 to December 26, 2016 for the United States, to the extent such
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                                          13   documents existed in Twitch’s possession, custody, or control and can be identified upon a

                                          14   reasonable search.

                                          15          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          16   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          17   appropriate.

                                          18   REQUEST FOR PRODUCTION NO. 85:

                                          19          All Documents reflecting any use of HTTP by the Accused Instrumentality showing that a

                                          20   Twitch customer or end user is authorized to receive or use requested content or showing the

                                          21   duration for which cached content is permitted to be used without obtaining reauthorization.

                                          22   RESPONSE TO REQUEST FOR PRODUCTION NO. 85:

                                          23          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          24   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          25   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          26   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          27   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          28   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             5                      CASE NO. 5:18-md-02834-BLF
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                                           1   applicable order of the Court.

                                           2          Twitch objects to this request to the extent it seeks information that is subject to any

                                           3   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           4   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           5   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           6   users. Twitch does not intend to provide such information without the consent of the relevant

                                           7   persons or a court order.

                                           8          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                           9   Objections above and incorporates those bases herein.            Twitch will interpret “Accused

                                          10   Instrumentality” as Twitch.tv only.

                                          11          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          12   and unintelligible.     For example, Twitch objects to the undefined terms “authorized” and
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                                          13   “reauthorization” and the use of those terms in this request. To the extent PersonalWeb uses these

                                          14   terms to imply its proposed claim constructions, Twitch objects to such use as PersonalWeb’s

                                          15   proposed constructions are not supported by the intrinsic and extrinsic evidence and have not been

                                          16   adopted by the Court.

                                          17          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          18   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          19   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          20   Documents reflecting any use of HTTP by the Accused Instrumentality” without connection to any

                                          21   accused functionality in the case.

                                          22           Subject to and without waiving any objections, Twitch responds as follows:

                                          23          Twitch will produce non-privileged, non-protected documents sufficient to show caching

                                          24   parameters used by Twitch.tv during the time period of September 14, 2012 to December 26, 2016

                                          25   for the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          26   and can be identified upon a reasonable search.

                                          27          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             6                      CASE NO. 5:18-md-02834-BLF
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                                           1   appropriate.

                                           2   REQUEST FOR PRODUCTION NO. 86:

                                           3          All Documents showing the arrival or receipt of HTTP Conditional GET Requests at the

                                           4   Accused Instrumentality server(s), including server logs showing such arrival and/or receipt, and

                                           5   the date or time stamping of same.

                                           6   RESPONSE TO REQUEST FOR PRODUCTION NO. 86:

                                           7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                          13   applicable order of the Court.

                                          14          Twitch objects to this request to the extent it seeks information that is subject to any

                                          15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          18   users. Twitch does not intend to provide such information without the consent of the relevant

                                          19   persons or a court order.

                                          20          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          21   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          22   Instrumentality” as Twitch.tv only.

                                          23          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          24   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          25   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          26   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          27   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          28   Infringement Contentions. For example, Twitch objects to the undefined phrase “server logs” as

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                                           1   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                           2   case, as it does not identify the item or feature with specificity.

                                           3          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           4   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                           5   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                           6   documents showing the arrival or receipt of HTTP Conditional GET Requests” as the request spans

                                           7   several years and Twitch.tv processes numerous transactions daily.

                                           8          Subject to and without waiving any objections, Twitch responds as follows:

                                           9          Twitch will produce non-privileged, non-protected documents sufficient to show the receipt

                                          10   of HTTP Conditional GET requests by Twitch.tv during the time period of September 14, 2012 to

                                          11   December 26, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                          12   custody, or control and can be identified upon a reasonable search.
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                                          13          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          14   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          15   appropriate.

                                          16   REQUEST FOR PRODUCTION NO. 87:

                                          17          All Documents regarding the configuration of Your web server(s) of the Accused

                                          18   Instrumentality during the Relevant Time Period, including, without limitation, all configuration

                                          19   files and/or configuration parameters as well as any scripts or programs used to manage its

                                          20   configuration and/or operation.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 87:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          23   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          24   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          25   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          26   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          27   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          28   applicable order of the Court.

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                                           1           Twitch objects to this request to the extent it seeks information that is subject to any

                                           2   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           3   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           4   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           5   users. Twitch does not intend to provide such information without the consent of the relevant

                                           6   persons or a court order.

                                           7           Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                           8   Objections above and incorporates those bases herein.            Twitch will interpret “Accused

                                           9   Instrumentality” as Twitch.tv only.

                                          10           Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          11   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          12   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking
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                                          13   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          14   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          15   Infringement Contentions.

                                          16           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          17   and unintelligible. For example, Twitch objects to the undefined phrases “configuration of Your

                                          18   web server(s),” “configuration parameters,” and “scripts or programs use to manage its

                                          19   configuration and/or operation” as vague and ambiguous, overly broad, unduly burdensome, and

                                          20   not proportional to the needs of the case, as they do not identify the items or features with

                                          21   specificity.

                                          22           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          23   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          24   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          25   regarding the configuration of Your web server(s)” without connection to any accused functionality

                                          26   in the case.

                                          27           Subject to and without waiving any objections, Twitch responds as follows:

                                          28           Twitch has already made available for inspection, pursuant to the terms of the protective

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                                           1   order, source code reflecting the operation of the accused Twitch.tv website available in the United

                                           2   States, including the revisions to that code that existed between September 14, 2012 through

                                           3   December 26, 2016.

                                           4          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           5   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           6   appropriate.

                                           7   REQUEST FOR PRODUCTION NO. 88:

                                           8          All Documents identifying Your web server(s) of the Accused Instrumentality and/or their

                                           9   location during the Relevant Time Period.

                                          10   RESPONSE TO REQUEST FOR PRODUCTION NO. 88:

                                          11          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          12   objects to this request to the extent it seeks information protected by the attorney-client privilege,
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                                          13   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          14   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          15   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          16   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          17   applicable order of the Court.

                                          18          Twitch objects to this request to the extent it seeks information that is subject to any

                                          19   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          20   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          21   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          22   users. Twitch does not intend to provide such information without the consent of the relevant

                                          23   persons or a court order.

                                          24          Twitch objects to this request to the extent it seeks information equally available to

                                          25   PersonalWeb in the public domain.

                                          26          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          27   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          28   Instrumentality” as Twitch.tv only.

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                                           1          Twitch objects to this request because it is grossly overbroad and is not relevant to any issue

                                           2   in this case. For example, the request on its face seeks information relating to web servers that

                                           3   Twitch relies on, including their location, even if servers are not directly related to provision of the

                                           4   specific Twitch.tv services and features accused in this litigation. Twitch’s use of web server

                                           5   networks, without specific limitations to Twitch.tv, is not relevant to this case.

                                           6          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           7   and unintelligible. For example, Twitch objects to the undefined phrase “web server(s)” as vague

                                           8   and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as

                                           9   it does not identify the item or feature with specificity.

                                          10          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          11   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          12   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents
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                                          13   identifying Your web server(s)” without connection to any accused functionality in the case. Twitch

                                          14   objects to this request as unreasonably duplicative and/or redundant of Request Nos. 69 and 86.

                                          15          Subject to and without waiving any objections, Twitch responds as follows:

                                          16          Twitch has already made available for inspection, pursuant to the terms of the protective

                                          17   order, source code reflecting the operation of the accused Twitch.tv website available in the United

                                          18   States, including the revisions to that code that existed between September 14, 2012 through

                                          19   December 26, 2016.

                                          20          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          21   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          22   appropriate.

                                          23   REQUEST FOR PRODUCTION NO. 89:

                                          24          All source code and documents regarding the use of Ruby on Rails as part of Your Accused

                                          25   Instrumentality.

                                          26   RESPONSE TO REQUEST FOR PRODUCTION NO. 89:

                                          27          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          28   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              11                      CASE NO. 5:18-md-02834-BLF
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                                           1   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           2   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           3   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           4   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           5   applicable order of the Court.

                                           6          Twitch objects to this request to the extent it seeks information that is subject to any

                                           7   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           8   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           9   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          10   users. Twitch does not intend to provide such information without the consent of the relevant

                                          11   persons or a court order.

                                          12          Twitch objects to this request to the extent it seeks information not in Twitch’s possession,
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                                          13   custody or control.

                                          14          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          15   Objections above and incorporates those bases herein.              Twitch will interpret “Accused

                                          16   Instrumentality” as Twitch.tv only.

                                          17          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          18   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          19   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          20   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          21   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          22   Infringement Contentions.

                                          23          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          24   and unintelligible. For example, Twitch objects to the undefined phrase “the use of Ruby on Rails

                                          25   as part of” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the

                                          26   needs of the case, as it does not identify the item or feature with specificity.

                                          27          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          28   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             12                       CASE NO. 5:18-md-02834-BLF
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                                           1   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                           2   source code and documents” without connection to any accused functionality in the case.

                                           3          Subject to and without waiving any objections, Twitch responds as follows:

                                           4          Twitch has already made available for inspection, pursuant to the terms of the protective

                                           5   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                           6   including the revisions to that code that existed between September 14, 2012 through December

                                           7   26, 2016.

                                           8          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           9   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          10   appropriate.

                                          11   REQUEST FOR PRODUCTION NO. 90:

                                          12          All Documents regarding the adoption of Content-Based ETags or the ability to respond to
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                                          13   HTTP Conditional GET Requests having Content-Based ETags by the web server of Your Accused

                                          14   Instrumentality during the Relevant Time Period.

                                          15   RESPONSE TO REQUEST FOR PRODUCTION NO. 90:

                                          16          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          17   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          18   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          19   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          20   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          21   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          22   applicable order of the Court.

                                          23          Twitch objects to this request to the extent it seeks information that is subject to any

                                          24   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          25   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          26   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          27   users. Twitch does not intend to provide such information without the consent of the relevant

                                          28   persons or a court order.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            13                      CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                           2   Objections above and incorporates those bases herein.              Twitch will interpret “Accused

                                           3   Instrumentality” as Twitch.tv only.

                                           4          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           5   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           6   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           7          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           8   and unintelligible. For example, Twitch objects to the undefined phrase “adoption of Content-

                                           9   Based ETags or the ability to respond to Conditional HTTP GET requests having Content-Based

                                          10   ETags by the web server” as vague and ambiguous, overly broad, unduly burdensome, and not

                                          11   proportional to the needs of the case, as it does not identify the item or feature with specificity.

                                          12          Twitch objects to this request as overbroad and irrelevant because it is not limited to a
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                                          13   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          14   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          15   Documents regarding the adoption of Content-Based ETags or the ability to respond to HTTP

                                          16   Conditional GET Requests having Content-Based ETags by the web server” without connection to

                                          17   any accused functionality in the case.

                                          18          Subject to and without waiving any objections, Twitch responds as follows:

                                          19          Twitch will produce nonprivileged, non-protected documents sufficient to show the use of

                                          20   ETags and Conditional HTTP GET requests on Twitch.tv during the time period of September 14,

                                          21   2012 to December 26, 2016 for the United States, to the extent such documents exist in Twitch’s

                                          22   possession, custody, or control, can be identified upon a reasonable search, and have not yet been

                                          23   produced.

                                          24          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          25   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          26   appropriate.

                                          27   REQUEST FOR PRODUCTION NO. 91:

                                          28          All Documents regarding the data structures that stored Content-Based ETags in Your

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             14                      CASE NO. 5:18-md-02834-BLF
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                                           1   Accused Instrumentality during the Relevant Time Period.

                                           2   RESPONSE TO REQUEST FOR PRODUCTION NO. 91:

                                           3          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           9   applicable order of the Court.

                                          10          Twitch objects to this request to the extent it seeks information that is subject to any

                                          11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                          13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          14   users. Twitch does not intend to provide such information without the consent of the relevant

                                          15   persons or a court order.

                                          16          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          17   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          18   Instrumentality” as Twitch.tv only.

                                          19          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          20   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          21   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          22   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          23   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          24   Infringement Contentions.

                                          25          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                          26   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                          27   ETags” to mean ETags calculated based on contents of a corresponding file.

                                          28          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            15                      CASE NO. 5:18-md-02834-BLF
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                                           1   and unintelligible. For example, Twitch objects to the undefined phrase “data structure” as vague

                                           2   and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as

                                           3   it does not identify the item or feature with specificity.

                                           4          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           5   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                           6   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                           7   regarding the data structures that stored Content-Based ETags.”

                                           8          Subject to and without waiving any objections, Twitch responds as follows:

                                           9          Twitch has already made available for inspection, pursuant to the terms of the protective

                                          10   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                          11   including the revisions to that code that existed between September 14, 2012 through December

                                          12   26, 2016.
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                                          13          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          14   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          15   appropriate.

                                          16   REQUEST FOR PRODUCTION NO. 92:

                                          17          All Documents regarding the use of Content-Based ETags by Your Accused Instrumentality

                                          18   during the Relevant Time Period, including controlling or enabling the use of the Content-Based

                                          19   ETags by customers or end users.

                                          20   RESPONSE TO REQUEST FOR PRODUCTION NO. 92:

                                          21          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          22   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          23   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          24   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          25   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          26   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          27   applicable order of the Court.

                                          28          Twitch objects to this request to the extent it seeks information that is subject to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              16                    CASE NO. 5:18-md-02834-BLF
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                                           1   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           2   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           3   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           4   users. Twitch does not intend to provide such information without the consent of the relevant

                                           5   persons or a court order.

                                           6           Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           7   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           8   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           9           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          10   and unintelligible. For example, Twitch objects to the undefined phrase “controlling or enabling”

                                          11   as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of

                                          12   the case, as it does not identify the item or feature with specificity.
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                                          13           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          14   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          15   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          16   regarding the use of Content-Based ETags.”

                                          17           Twitch objects to this request as unreasonably duplicative and/or redundant of Request Nos.

                                          18   1-2, and 5.

                                          19           Subject to and without waiving any objections, Twitch responds as follows:

                                          20           Twitch will produce nonprivileged, non-protected documents sufficient to show the use of

                                          21   ETags by Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for the

                                          22   United States, to the extent such documents exist in Twitch’s possession, custody, or control, can

                                          23   be identified upon a reasonable search, and have not yet been produced.

                                          24           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          25   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          26   appropriate.

                                          27   REQUEST FOR PRODUCTION NO. 93:

                                          28           All Documents regarding the transmission of HTTP Conditional GET Requests by

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              17                     CASE NO. 5:18-md-02834-BLF
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                                           1   customers or end users of Your Accused Instrumentality during the Relevant Time Period.

                                           2   RESPONSE TO REQUEST FOR PRODUCTION NO. 93:

                                           3          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           9   applicable order of the Court.

                                          10          Twitch objects to this request to the extent it seeks information that is subject to any

                                          11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                          13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          14   users. Twitch does not intend to provide such information without the consent of the relevant

                                          15   persons or a court order.

                                          16          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          17   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          18   Instrumentality” as Twitch.tv only.

                                          19          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          20   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          21   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          22   regarding the transmission of HTTP Conditional GET Requests.”

                                          23          Subject to and without waiving any objections, Twitch responds as follows:

                                          24          Twitch will produce nonprivileged, non-protected documents sufficient to show the

                                          25   processing of HTTP Conditional GET Requests by Twitch.tv during the time period of September

                                          26   14, 2012 to December 26, 2016 for the United States, to the extent such documents exist in Twitch’s

                                          27   possession, custody, or control, can be identified upon a reasonable search, and have not yet been

                                          28   produced.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            18                      CASE NO. 5:18-md-02834-BLF
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                                           1             Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           2   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           3   appropriate.

                                           4   REQUEST FOR PRODUCTION NO. 94:

                                           5             All web server source code used by Your Accused Instrumentality during the Relevant Time

                                           6   Period, or other documents showing how server logs were generated during the Relevant Time

                                           7   Period.

                                           8   RESPONSE TO REQUEST FOR PRODUCTION NO. 94:

                                           9             Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          10   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          11   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          12   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
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                                          13   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          14   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          15   applicable order of the Court.

                                          16             Twitch objects to this request to the extent it seeks information that is subject to any

                                          17   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          18   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          19   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          20   users. Twitch does not intend to provide such information without the consent of the relevant

                                          21   persons or a court order.

                                          22             Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          23   Objections above and incorporates those bases herein.                Twitch will interpret “Accused

                                          24   Instrumentality” as Twitch.tv only.

                                          25             Twitch objects to this request because it is grossly overbroad and is not relevant to any issue

                                          26   in this case. For example, the request on its face seeks information relating to web servers that

                                          27   Twitch relies on, including their location, even if servers are not directly related to provision of the

                                          28   specific Twitch.tv services and features accused in this litigation. Twitch’s use of web server

                                                TWITCH’S RESPONSES AND OBJECTIONS TO               19                      CASE NO. 5:18-md-02834-BLF
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                                           1   networks, without specific limitations to Twitch.tv, is not relevant to this case.

                                           2          Twitch further objects that the manner in which server logs are generated is not relevant to

                                           3   any issue in this case.

                                           4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           5   and unintelligible. For example, Twitch objects to the undefined phrases “web server” and “server

                                           6   logs” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs

                                           7   of the case, as they do not identify the items or features with specificity.

                                           8          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           9   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          10   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          11   web server source code” without connection to any accused functionality in the case. Twitch objects

                                          12   to this request as unreasonably duplicative and/or redundant of Request No. 86.
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                                          13          Subject to and without waiving any objections, Twitch responds as follows:

                                          14          Twitch has already made available for inspection, pursuant to the terms of the protective

                                          15   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                          16   including the revisions to that code that existed between September 14, 2012 through December

                                          17   26, 2016.

                                          18          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          19   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          20   appropriate.

                                          21   REQUEST FOR PRODUCTION NO. 95:

                                          22          All Documents identifying the locations of the web server(s) used by Your Accused

                                          23   Instrumentality during the Relevant Time Period.

                                          24   RESPONSE TO REQUEST FOR PRODUCTION NO. 95:

                                          25          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          26   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          27   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          28   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             20                       CASE NO. 5:18-md-02834-BLF
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                                           1   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           2   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           3   applicable order of the Court.

                                           4          Twitch objects to this request to the extent it seeks information that is subject to any

                                           5   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           6   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           7   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           8   users. Twitch does not intend to provide such information without the consent of the relevant

                                           9   persons or a court order.

                                          10          Twitch objects to this request to the extent it seeks information equally available to

                                          11   PersonalWeb in the public domain.

                                          12          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General
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                                          13   Objections above and incorporates those bases herein.              Twitch will interpret “Accused

                                          14   Instrumentality” as Twitch.tv only.

                                          15          Twitch objects to this request because it is grossly overbroad and is not relevant to any issue

                                          16   in this case. For example, the request on its face seeks information relating to the location of any

                                          17   web servers that Twitch relies on, even if servers are not directly related to provision of the specific

                                          18   Twitch.tv services and features accused in this litigation. Twitch’s use of web server networks,

                                          19   without specific limitations to Twitch.tv, is not relevant to this case.

                                          20          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          21   and unintelligible. For example, Twitch objects to the undefined phrase “web server” as vague and

                                          22   ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as it

                                          23   does not identify the item or feature with specificity.

                                          24          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          25   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          26   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          27   identifying the locations of the web server(s)” without connection to any accused functionality in

                                          28   the case. Twitch objects to this request as unreasonably duplicative and/or redundant of Request

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             21                       CASE NO. 5:18-md-02834-BLF
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                                           1   Nos. 69 and 86.

                                           2          Subject to and without waiving any objections, Twitch responds as follows:

                                           3          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                           4   location of web servers used by www.twitch.tv during the time period of September 14, 2012 to

                                           5   December 26, 2016 for the United States to the extent such documents exist in Twitch’s possession,

                                           6   custody, or control and can be identified upon a reasonable search, and have not yet been produced.

                                           7          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           8   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           9   appropriate.

                                          10   REQUEST FOR PRODUCTION NO. 96:

                                          11          All Documents regarding any lump sum settlement, license fee or other payment that You

                                          12   have made to settle or otherwise resolve any accusation of patent infringement by a third party.
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                                          13   RESPONSE TO REQUEST FOR PRODUCTION NO. 96:

                                          14          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          15   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          16   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          17   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          18   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          19   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          20   applicable order of the Court.

                                          21          Twitch objects to this request to the extent it seeks information that is subject to any

                                          22   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          23   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          24   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          25   users. Twitch does not intend to provide such information without the consent of the relevant

                                          26   persons or a court order.

                                          27          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          28   exceeding the boundaries of discoverable information, failing to describe the information sought

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            22                      CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                           2   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                           3   information about licenses which have no connection to the technology at issue here.

                                           4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           5   and unintelligible in that it seeks “[a]ll Documents regarding any lump sum settlement, license fee

                                           6   or other payment that You have made to settle or otherwise resolve any accusation of patent

                                           7   infringement” without connection to any accused functionality in the case. Twitch objects to this

                                           8   request as unreasonably duplicative and/or redundant of Request No. 29.

                                           9          Subject to and without waiving any objections, Twitch responds as follows:

                                          10          Twitch has already agreed to produce non-privileged, non-protected documents sufficient

                                          11   to show licenses related to the technology at issue during the time period of September 14, 2012 to

                                          12   December 26, 2016 for the United States in response to Request for Production No. 29.
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                                          13          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          14   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          15   appropriate.

                                          16   REQUEST FOR PRODUCTION NO. 97:

                                          17          All Documents regarding the importance of Cache-Busting by using Content-Based ETags

                                          18   or Fingerprints in connection with the Accused Instrumentality.

                                          19   RESPONSE TO REQUEST FOR PRODUCTION NO. 97:

                                          20          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          21   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          22   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          23   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          24   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          25   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          26   applicable order of the Court.

                                          27          Twitch objects to this request to the extent it seeks information that is subject to any

                                          28   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            23                      CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           2   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           3   users. Twitch does not intend to provide such information without the consent of the relevant

                                           4   persons or a court order.

                                           5          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                           6   Objections above and incorporates those bases herein.              Twitch will interpret “Accused

                                           7   Instrumentality” as Twitch.tv only.

                                           8          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           9   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                          10   ETags” to mean ETags calculated based on contents of a corresponding file.

                                          11          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                          12   the General Objections above and incorporates those bases herein.                  Twitch will interpret
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                                          13   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          14   algorithm and that renders the name of a file dependent on the contents of the file.

                                          15          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          16   and unintelligible. For example, Twitch objects to the undefined phrase “the importance of Cache-

                                          17   Busting” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the

                                          18   needs of the case, as it does not identify the item or feature with specificity.

                                          19          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          20   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          21   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          22   Documents identifying Your web server(s)” without connection to any accused functionality in the

                                          23   case. Twitch objects to this request as unreasonably duplicative and/or redundant of Request Nos.

                                          24   9, 14, 17-18, 43, 45, and 78.

                                          25          Subject to and without waiving any objections, Twitch responds as follows:

                                          26          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          27   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          28   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             24                       CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
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                                           1   and can be identified upon a reasonable search, and have not yet been produced.

                                           2          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           3   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           4   appropriate.

                                           5   REQUEST FOR PRODUCTION NO. 98:

                                           6          All Documents regarding any comparison You made between Cache-Busting by using

                                           7   Content-Based ETags or Fingerprints, as compared to other forms of Cache-Busting.

                                           8   RESPONSE TO REQUEST FOR PRODUCTION NO. 98:

                                           9          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          10   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          11   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          12   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
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                                          13   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          14   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          15   applicable order of the Court.

                                          16          Twitch objects to this request to the extent it seeks information that is subject to any

                                          17   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          18   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          19   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          20   users. Twitch does not intend to provide such information without the consent of the relevant

                                          21   persons or a court order.

                                          22          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          23   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          24   Instrumentality” as Twitch.tv only.

                                          25           Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          26   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          27   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          28   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            25                      CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                           2   Infringement Contentions.

                                           3           Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           4   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           5   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           6          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           7   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                           8   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           9   algorithm and that renders the name of a file dependent on the contents of the file.

                                          10           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          11   and unintelligible. For example, Twitch objects to the undefined phrase “between Cache-Busting

                                          12   by using Content-Based ETags or Fingerprints, as compared to other forms of Cache-Busting” as
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                                          13   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                          14   case, as it does not identify the item or feature with specificity.

                                          15           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          16   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          17   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          18   Documents identifying Your web server(s)” without connection to any accused functionality in the

                                          19   case. Twitch objects to this request as unreasonably duplicative and/or redundant of Request Nos.

                                          20   9, 14, 17-18, 43, 45, 78, and 97.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          23   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          24   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          25   and can be identified upon a reasonable search, and have not yet been produced.

                                          26          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              26                    CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   REQUEST FOR PRODUCTION NO. 99:

                                           2          All Documents regarding the history or evolution of Cache-Busting in connection with web

                                           3   serving and the Internet, and/or the importance of Cache-Busting in the development of the Internet.

                                           4   RESPONSE TO REQUEST FOR PRODUCTION NO. 99:

                                           5          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           6   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           7   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           8   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           9   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          10   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          11   applicable order of the Court.

                                          12          Twitch objects to this request to the extent it seeks information that is subject to any
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                                          13   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          14   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          15   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          16   users. Twitch does not intend to provide such information without the consent of the relevant

                                          17   persons or a court order.

                                          18           Twitch objects to this request to the extent it seeks information equally available to

                                          19   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          20   not in Twitch’s possession, custody or control.

                                          21          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          22   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          23   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          24   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          25   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          26   Infringement Contentions.

                                          27          Twitch objects to the term “Cache-Busting” on the basis identified in the General

                                          28   Objections above and incorporates those bases herein.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             27                     CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           2   and unintelligible in that it seeks “[a]ll Documents regarding the history or evolution of Cache-

                                           3   Busting” without connection to any accused functionality in the case. Twitch objects to this request

                                           4   as unreasonably duplicative and/or redundant of Request Nos. 9, 14, and 17-18.

                                           5   REQUEST FOR PRODUCTION NO. 100:

                                           6          All Documents comparing Cache-Busting using content-based identifiers with Content-

                                           7   Based ETags or Fingerprints to other forms of Cache-Busting, including the advantages of Cache-

                                           8   Busting using content-based identifiers with ETags or Fingerprints.

                                           9   RESPONSE TO REQUEST FOR PRODUCTION NO. 100:

                                          10          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          11   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          12   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
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                                          13   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          14   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          15   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          16   applicable order of the Court.

                                          17          Twitch objects to this request to the extent it seeks information that is subject to any

                                          18   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          19   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          20   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          21   users. Twitch does not intend to provide such information without the consent of the relevant

                                          22   persons or a court order.

                                          23          Twitch objects to this request to the extent it seeks information equally available to

                                          24   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          25   not in Twitch’s possession, custody or control.

                                          26          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          27   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          28   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             28                     CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                           2   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                           3   Infringement Contentions.

                                           4             Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           5   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           6   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           7             Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           8   the General Objections above and incorporates those bases herein.            Twitch will interpret

                                           9   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          10   algorithm and that renders the name of a file dependent on the contents of the file.

                                          11             Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          12   and unintelligible.     For example, Twitch objects to the undefined phrases “content-based
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                                          13   identifiers” and “advantages of Cache-Busting using content-based identifiers” as vague and

                                          14   ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as they

                                          15   do not identify the items or features with specificity.

                                          16             Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          17   and unintelligible in that it seeks “[a]ll Documents comparing Cache-Busting using content-based

                                          18   identifiers with Content-Based ETags or Fingerprints to other forms of Cache-Busting.” Twitch

                                          19   objects to this request as unreasonably duplicative and/or redundant of Request Nos. 9, 14, 17-18,

                                          20   and 98.

                                          21             Subject to and without waiving any objections, Twitch responds as follows:

                                          22             Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          23   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          24   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          25   and can be identified upon a reasonable search, and have not yet been produced.

                                          26             Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             29                    CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                           1   REQUEST FOR PRODUCTION NO. 101:

                                           2          All Documents regarding Your choice of Cache-Busting using content-based identifiers

                                           3   with ETags or Fingerprints used with the Accused Instrumentality, instead of some other form of

                                           4   Cache-Busting.

                                           5   RESPONSE TO REQUEST FOR PRODUCTION NO. 101:

                                           6          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           7   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           8   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           9   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          10   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          11   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          12   applicable order of the Court.
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                                          13          Twitch objects to this request to the extent it seeks information that is subject to any

                                          14   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          15   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          16   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          17   users. Twitch does not intend to provide such information without the consent of the relevant

                                          18   persons or a court order.

                                          19          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          20   Objections above and incorporates those bases herein.             Twitch will interpret “Accused

                                          21   Instrumentality” as Twitch.tv only.

                                          22           Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          23   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          24   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          25   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          26   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          27   Infringement Contentions.

                                          28          Twitch objects to the term “ETags” on the basis identified in the General Objections above

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            30                      CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   and incorporates those bases herein. Twitch will interpret “ETags” to mean ETags calculated based

                                           2   on contents of a corresponding file.

                                           3          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           4   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                           5   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           6   algorithm and that renders the name of a file dependent on the contents of the file.

                                           7          Twitch objects to the undefined phrase “form of Cache-Busting” as vague and ambiguous,

                                           8   overly broad, unduly burdensome, and not proportional to the needs of the case, as it does not

                                           9   identify the item or feature with specificity.

                                          10           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          11   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          12   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll
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                                          13   Documents regarding Your choice of Cache-Busting using content-based identifiers.” Twitch objects

                                          14   to this request as unreasonably duplicative and/or redundant of Request Nos. 9, 14, 17-18, 43, 45,

                                          15   78, and 97.

                                          16          Subject to and without waiving any objections, Twitch responds as follows:

                                          17          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          18   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          19   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          20   and can be identified upon a reasonable search, and have not yet been produced.

                                          21          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          22   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          23   appropriate.

                                          24   REQUEST FOR PRODUCTION NO. 102:

                                          25          All Documents regarding the ease or difficulty of switching from Cache-Busting using

                                          26   content-based identifiers with ETags or Fingerprints, to some other form of Cache-Busting.

                                          27   RESPONSE TO REQUEST FOR PRODUCTION NO. 102:

                                          28          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            31                      CASE NO. 5:18-md-02834-BLF
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                                           1   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           2   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           3   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           4   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           5   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           6   applicable order of the Court.

                                           7          Twitch objects to this request to the extent it seeks information that is subject to any

                                           8   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           9   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          10   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          11   users. Twitch does not intend to provide such information without the consent of the relevant

                                          12   persons or a court order.
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                                          13          Twitch objects to this request to the extent it seeks information equally available to

                                          14   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          15   not in Twitch’s possession, custody or control.

                                          16          Twitch objects to the term “ETags” on the basis identified in the General Objections above

                                          17   and incorporates those bases herein. Twitch will interpret “ETags” to mean ETags calculated based

                                          18   on contents of a corresponding file.

                                          19          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                          20   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                          21   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          22   algorithm and that renders the name of a file dependent on the contents of the file.

                                          23          Twitch further objects to this request as prematurely seeking expert testimony before the

                                          24   time called for by the Local Rules and the Court’s case schedule.

                                          25          Subject to and without waiving any objections, Twitch responds as follows:

                                          26          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          27   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          28   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             32                     CASE NO. 5:18-md-02834-BLF
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                                           1   and can be identified upon a reasonable search, and have not yet been produced.

                                           2          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           3   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           4   appropriate.

                                           5   REQUEST FOR PRODUCTION NO. 103:

                                           6          All Documents regarding the costs associated with switching from Cache-Busting using

                                           7   content-based identifiers with ETags or Fingerprints, to some other form of Cache-Busting.

                                           8   RESPONSE TO REQUEST FOR PRODUCTION NO. 103:

                                           9          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          10   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          11   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          12   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
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                                          13   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          14   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          15   applicable order of the Court.

                                          16          Twitch objects to this request to the extent it seeks information that is subject to any

                                          17   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          18   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          19   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          20   users. Twitch does not intend to provide such information without the consent of the relevant

                                          21   persons or a court order.

                                          22          Twitch objects to this request to the extent it seeks information equally available to

                                          23   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          24   not in Twitch’s possession, custody or control.

                                          25          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          26   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          27   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          28   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             33                     CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                           2   Infringement Contentions.

                                           3          Twitch objects to the term “ETags” on the basis identified in the General Objections above

                                           4   and incorporates those bases herein. Twitch will interpret “ETags” to mean ETags calculated based

                                           5   on contents of a corresponding file.

                                           6          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           7   the General Objections above and incorporates those bases herein.               Twitch will interpret

                                           8   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           9   algorithm and that renders the name of a file dependent on the contents of the file.

                                          10          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          11   and unintelligible. For example, Twitch objects to the undefined phrase “costs associated with

                                          12   switching from Cache-Busting using content-based identifiers with Content-Based ETags or
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                                          13   Fingerprints” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to

                                          14   the needs of the case, as it does not identify the item or feature with specificity.

                                          15          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          16   and unintelligible in that it seeks “[a]ll Documents regarding the costs associated with switching from

                                          17   Cache-Busting using content-based identifiers.” Twitch objects to this request as unreasonably

                                          18   duplicative and/or redundant of Request Nos. 9, 14, 17-18, 98, and 100.

                                          19          Twitch further objects to this request as prematurely seeking expert testimony before the

                                          20   time called for by the Local Rules and the Court’s case schedule.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          23   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          24   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          25   and can be identified upon a reasonable search, and have not yet been produced.

                                          26          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             34                       CASE NO. 5:18-md-02834-BLF
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                                           1   REQUEST FOR PRODUCTION NO. 104:

                                           2          All Documents showing the relative cost of Cache-Busting using content-based identifiers

                                           3   with ETags or Fingerprints, as compared to other forms of Cache-Busting.

                                           4   RESPONSE TO REQUEST FOR PRODUCTION NO. 104:

                                           5          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           6   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           7   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           8   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           9   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          10   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          11   applicable order of the Court.

                                          12          Twitch objects to this request to the extent it seeks information that is subject to any
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                                          13   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          14   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          15   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          16   users. Twitch does not intend to provide such information without the consent of the relevant

                                          17   persons or a court order.

                                          18          Twitch objects to this request to the extent it seeks information equally available to

                                          19   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          20   not in Twitch’s possession, custody or control.

                                          21          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          22   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          23   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          24   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          25   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          26   Infringement Contentions.

                                          27          Twitch objects to the term “ETags” on the basis identified in the General Objections above

                                          28   and incorporates those bases herein. Twitch will interpret “ETags” to mean ETags calculated based

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             35                     CASE NO. 5:18-md-02834-BLF
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                                           1   on contents of a corresponding file.

                                           2           Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           3   the General Objections above and incorporates those bases herein.              Twitch will interpret

                                           4   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           5   algorithm and that renders the name of a file dependent on the contents of the file.

                                           6           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           7   and unintelligible. For example, Twitch objects to the undefined phrase “relative cost of Cache-

                                           8   Busting using content-based identifiers” as vague and ambiguous, overly broad, unduly burdensome,

                                           9   and not proportional to the needs of the case, as it does not identify the item or feature with

                                          10   specificity.

                                          11           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          12   and unintelligible in that it seeks “[a]ll Documents showing the relative cost of Cache-Busting using
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                                          13   content-based identifiers.”   Twitch objects to this request as unreasonably duplicative and/or

                                          14   redundant of Request Nos. 9, 14, 17-18, 98, 100, and 103.

                                          15           Twitch further objects to this request as prematurely seeking expert testimony before the

                                          16   time called for by the Local Rules and the Court’s case schedule.

                                          17           Subject to and without waiving any objections, Twitch responds as follows:

                                          18           Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          19   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          20   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          21   and can be identified upon a reasonable search, and have not yet been produced.

                                          22           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          23   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          24   appropriate.

                                          25   REQUEST FOR PRODUCTION NO. 105:

                                          26           All Documents showing whether forms of Cache-Busting other than using content-based

                                          27   identifiers with ETags or Fingerprints, can be used with online advertising.

                                          28   RESPONSE TO REQUEST FOR PRODUCTION NO. 105:

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            36                      CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           2   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           3   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           4   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           5   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           6   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           7   applicable order of the Court.

                                           8          Twitch objects to this request to the extent it seeks information that is subject to any

                                           9   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          10   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          11   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          12   users. Twitch does not intend to provide such information without the consent of the relevant
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                                          13   persons or a court order.

                                          14          Twitch objects to this request to the extent it seeks information equally available to

                                          15   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          16   not in Twitch’s possession, custody or control.

                                          17          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          18   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          19   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          20   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          21   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          22   Infringement Contentions.

                                          23          Twitch objects to the term “ETags” on the basis identified in the General Objections above

                                          24   and incorporates those bases herein. Twitch will interpret “ETags” to mean ETags calculated based

                                          25   on contents of a corresponding file.

                                          26          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                          27   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                          28   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             37                     CASE NO. 5:18-md-02834-BLF
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                                           1   algorithm and that renders the name of a file dependent on the contents of the file.

                                           2          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           3   and unintelligible. For example, Twitch objects to the undefined phrases “forms of Cache-Busting

                                           4   other than using content-based identifiers with ETags or Fingerprints” and “online advertising” as

                                           5   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                           6   case, as they do not identify the items or features with specificity.

                                           7          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           8   and unintelligible in that it seeks “[a]ll Documents showing whether forms of Cache-Busting other

                                           9   than using content-based identifiers with ETags or Fingerprints, can be used with online advertising”

                                          10   without connection to any accused functionality in the case. Twitch objects to this request as

                                          11   unreasonably duplicative and/or redundant of Request Nos. 9, 14, 17-18, 98, 100, 103 and 104.

                                          12          Twitch further objects to this request as prematurely seeking expert testimony before the
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                                          13   time called for by the Local Rules and the Court’s case schedule.

                                          14          Subject to and without waiving any objections, Twitch responds as follows:

                                          15          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          16   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                          17   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                          18   and can be identified upon a reasonable search, and have not yet been produced.

                                          19          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          20   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          21   appropriate.

                                          22   REQUEST FOR PRODUCTION NO. 106:

                                          23          All Documents showing the manner in which the Accused Instrumentality employs Cache-

                                          24   Busting.

                                          25   RESPONSE TO REQUEST FOR PRODUCTION NO. 106:

                                          26          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          27   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          28   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             38                     CASE NO. 5:18-md-02834-BLF
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                                           1   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           2   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           3   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           4   applicable order of the Court.

                                           5           Twitch objects to this request to the extent it seeks information that is subject to any

                                           6   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           7   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           8   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           9   users. Twitch does not intend to provide such information without the consent of the relevant

                                          10   persons or a court order.

                                          11           Twitch objects to this request to the extent it seeks information equally available to

                                          12   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information
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                                          13   not in Twitch’s possession, custody or control.

                                          14           Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          15   Objections above and incorporates those bases herein.               Twitch will interpret “Accused

                                          16   Instrumentality” as Twitch.tv only.

                                          17           Twitch objects to the term “Cache-Busting” on the basis identified in the General

                                          18   Objections above and incorporates those bases herein.

                                          19           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          20   and unintelligible. For example, Twitch objects to the undefined phrase “employs Cache-Busting”

                                          21   as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of

                                          22   the case, as it does not identify the item or feature with specificity.

                                          23           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          24   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          25   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          26   Documents showing the manner in which the Accused Instrumentality employs Cache-Busting”

                                          27   without connection to any accused functionality in the case. Twitch objects to this request as

                                          28   unreasonably duplicative and/or redundant of Request Nos. 9, 14, 17-18, 43, 45, 78, and 97.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              39                     CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch further objects to this request as prematurely seeking expert testimony before the

                                           2   time called for by the Local Rules and the Court’s case schedule.

                                           3          Subject to and without waiving any objections, Twitch responds as follows:

                                           4          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                           5   technical design, operation, and functionality of the accused features of Twitch.tv during the time

                                           6   period of September 14, 2012 to December 26, 2016 for the United States, to the extent such

                                           7   documents existed in Twitch’s possession, custody, or control and can be identified upon a

                                           8   reasonable search.

                                           9          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          10   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          11   appropriate.

                                          12   REQUEST FOR PRODUCTION NO. 107:
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                                          13          All Documents that compare Your revenues with the revenues of Microsoft Azure.

                                          14   RESPONSE TO REQUEST FOR PRODUCTION NO. 107:

                                          15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          21   applicable order of the Court.

                                          22          Twitch objects to this request to the extent it seeks information that is subject to any

                                          23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          26   users. Twitch does not intend to provide such information without the consent of the relevant

                                          27   persons or a court order.

                                          28          Twitch objects to this request to the extent it seeks information not in Twitch’s possession,

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            40                      CASE NO. 5:18-md-02834-BLF
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                                           1   custody or control.

                                           2          Twitch objects to this request as overbroad, nonsensical unduly burdensome, vague,

                                           3   ambiguous, exceeding the boundaries of discoverable information, failing to describe the

                                           4   information sought with the required reasonable particularity, not proportional to the needs of the

                                           5   case, and/or seeking information that is not relevant to any claim or defense in this action to the

                                           6   extent that it seeks information regarding comparisons with a cloud services provider, which Twitch

                                           7   and Twitch.tv do not provide.

                                           8          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           9   and unintelligible. For example, Twitch objects to the undefined phrase “Microsoft Azure” as

                                          10   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                          11   case, as it does not identify the item or feature with specificity.

                                          12          Twitch objects to this request as overbroad and irrelevant because it is not limited to a
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                                          13   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          14   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          15   Documents that compare Your revenues with the revenues of Microsoft Azure” without connection

                                          16   to any accused functionality in the case.

                                          17   REQUEST FOR PRODUCTION NO. 108:

                                          18          All Documents regarding the success of Your Accused Instrumentality because it involves

                                          19   Cache-Busting using content-based identifiers with Content-Based ETags or Fingerprints.

                                          20   RESPONSE TO REQUEST FOR PRODUCTION NO. 108:

                                          21          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          22   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          23   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          24   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          25   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          26   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          27   applicable order of the Court.

                                          28          Twitch objects to this request to the extent it seeks information that is subject to any

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              41                    CASE NO. 5:18-md-02834-BLF
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                                           1   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           2   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           3   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           4   users. Twitch does not intend to provide such information without the consent of the relevant

                                           5   persons or a court order.

                                           6          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           7   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           8   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           9          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                          10   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                          11   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          12   algorithm and that renders the name of a file dependent on the contents of the file.
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                                          13          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          14   and unintelligible. For example, Twitch objects to the undefined phrase “involves Cache-Busting

                                          15   using content-based identifiers with ETags or Fingerprints” as vague and ambiguous, overly broad,

                                          16   unduly burdensome, and not proportional to the needs of the case, as it does not identify the item

                                          17   or feature with specificity.

                                          18          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          19   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          20   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          21   Documents regarding the success of Your Accused Instrumentality because it involves Cache-

                                          22   Busting.” Twitch objects to this request as unreasonably duplicative and/or redundant of Request

                                          23   Nos. 9, 14, 17-18, 43, 45, 78, and 97.

                                          24          Twitch further objects to this request as prematurely seeking expert testimony before the

                                          25   time called for by the Local Rules and the Court’s case schedule.

                                          26          Subject to and without waiving any objections, Twitch responds as follows:

                                          27          Twitch will produce non-privileged, non-protected documents sufficient to show any value

                                          28   of caching to Twitch.tv during the time period of September 14, 2012 to December 26, 2016 for

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            42                      CASE NO. 5:18-md-02834-BLF
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                                           1   the United States, to the extent such documents exist in Twitch’s possession, custody, or control

                                           2   and can be identified upon a reasonable search, and have not yet been produced.

                                           3          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           4   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           5   appropriate.

                                           6   REQUEST FOR PRODUCTION NO. 109:

                                           7          All Documents regarding alternative forms of Cache-Busting other than Cache-Busting

                                           8   using content-based identifiers with Content-Based ETags or Fingerprints.

                                           9   RESPONSE TO REQUEST FOR PRODUCTION NO. 109:

                                          10          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          11   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          12   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
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                                          13   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          14   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          15   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          16   applicable order of the Court.

                                          17          Twitch objects to this request to the extent it seeks information that is subject to any

                                          18   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          19   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          20   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          21   users. Twitch does not intend to provide such information without the consent of the relevant

                                          22   persons or a court order.

                                          23          Twitch objects to this request to the extent it seeks information equally available to

                                          24   PersonalWeb in the public domain. Twitch objects to this request to the extent it seeks information

                                          25   not in Twitch’s possession, custody or control.

                                          26          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          27   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          28   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             43                     CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                           1   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                           2   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                           3   Infringement Contentions.

                                           4          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           5   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           6   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           7          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           8   the General Objections above and incorporates those bases herein.               Twitch will interpret

                                           9   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          10   algorithm and that renders the name of a file dependent on the contents of the file.

                                          11          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          12   and unintelligible. For example, Twitch objects to the undefined phrase “alternative forms of
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                                          13   Cache-Busting other than Cache-Busting using content-based identifiers with ETags or

                                          14   Fingerprints” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to

                                          15   the needs of the case, as it does not identify the item or feature with specificity.

                                          16          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          17   and unintelligible in that it seeks “[a]ll Documents regarding alternative forms of Cache-Busting other

                                          18   than Cache-Busting using content-based identifiers” without connection to any accused functionality

                                          19   in the case. Twitch objects to this request as unreasonably duplicative and/or redundant of Request

                                          20   Nos. 9, 14, 17-18, 98, 100, 103, and 104.

                                          21          Subject to and without waiving any objections, Twitch responds as follows:

                                          22          Twitch has already agreed to produce non-privileged, non-protected documents sufficient

                                          23   to show the value of caching to Twitch.tv during the time period of September 14, 2012 to

                                          24   December 26, 2016 for the United States in response to Request for Production Nos. 9, 14, 17-18,

                                          25   98, 100, 103, and 104.

                                          26          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          28   appropriate.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             44                       CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
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                                           1   REQUEST FOR PRODUCTION NO. 110:

                                           2           All Documents showing Your use of Cache-Busting using content-based identifiers with

                                           3   Content-Based ETags or Fingerprints on the home page of Your website.

                                           4   RESPONSE TO REQUEST FOR PRODUCTION NO. 110:

                                           5           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           6   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           7   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                           8   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           9   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          10   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          11   applicable order of the Court.

                                          12           Twitch objects to this request to the extent it seeks information that is subject to any
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                                          13   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          14   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          15   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          16   users. Twitch does not intend to provide such information without the consent of the relevant

                                          17   persons or a court order.

                                          18           Twitch objects to this request to the extent it seeks information equally available to

                                          19   PersonalWeb in the public domain.

                                          20           Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          21   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          22   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          23   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          24   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          25   Infringement Contentions.

                                          26           Twitch objects to the term Your on the bases identified in the General Objections above and

                                          27   incorporates those bases herein. Twitch will interpret this term to refer to Twitch Interactive, Inc.

                                          28   only.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            45                      CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           2   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           3   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           4          Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           5   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                           6   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           7   algorithm and that renders the name of a file dependent on the contents of the file.

                                           8          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           9   and unintelligible. For example, Twitch objects to the undefined phrases “use of Cache-Busting

                                          10   using content-based identifiers with Content-Based ETags or Fingerprints” and “Your website” as

                                          11   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                          12   case, as they do not identify the items or features with specificity.
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                                          13          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          14   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          15   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          16   Documents showing Your use of Cache-Busting using content-based identifiers with Content-

                                          17   Based ETags or Fingerprints on the home page of Your website” without connection to any accused

                                          18   functionality in the case. Twitch objects to this request as unreasonably duplicative and/or

                                          19   redundant of Request Nos. 9, 14, 17-18, 43, 45, 78, 97, and 108.

                                          20          Subject to and without waiving any objections, Twitch responds as follows:

                                          21          Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                          22   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          23   algorithm and that renders the name of a file dependent on the contents of the file or ETags

                                          24   calculated based on contents of a corresponding file during the time period of September 14, 2012

                                          25   to December 26, 2016 for the United States, to the extent such documents exist in Twitch’s

                                          26   possession, custody, or control and can be identified upon a reasonable search, and have not already

                                          27   been produced in response to prior requests.

                                          28          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             46                     CASE NO. 5:18-md-02834-BLF
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                                           1   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           2   appropriate.

                                           3   REQUEST FOR PRODUCTION NO. 111:

                                           4          All Documents showing Your use of Cache-Busting using content-based identifiers with

                                           5   Content-Based ETags or Fingerprints in connection with streaming video on Your website.

                                           6   RESPONSE TO REQUEST FOR PRODUCTION NO. 111:

                                           7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                           9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                          13   applicable order of the Court.

                                          14          Twitch objects to this request to the extent it seeks information that is subject to any

                                          15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          18   users. Twitch does not intend to provide such information without the consent of the relevant

                                          19   persons or a court order.

                                          20          Twitch objects to this request to the extent it seeks information equally available to

                                          21   PersonalWeb in the public domain.

                                          22          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          23   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          24   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                          25   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                          26   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                          27   Infringement Contentions.

                                          28          Twitch objects to the term Your on the bases identified in the General Objections above and

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            47                      CASE NO. 5:18-md-02834-BLF
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                                           1   incorporates those bases herein. Twitch will interpret this term to refer to Twitch Interactive, Inc.

                                           2   only.

                                           3           Twitch objects to the term “Content-Based ETags” on the basis identified in the General

                                           4   Objections above and incorporates those bases herein. Twitch will interpret “Content-Based

                                           5   ETags” to mean ETags calculated based on contents of a corresponding file.

                                           6           Twitch objects to the terms “Cache-Busting” and “Fingerprint” on the basis identified in

                                           7   the General Objections above and incorporates those bases herein.             Twitch will interpret

                                           8   “Fingerprint” to mean a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                           9   algorithm and that renders the name of a file dependent on the contents of the file.

                                          10           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          11   and unintelligible. For example, Twitch objects to the undefined phrases “the use by AWS of

                                          12   Cache-Busting using content-based identifiers with ETags or Fingerprints” and “Your website” as
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                                          13   vague and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the

                                          14   case, as they do not identify the items or features with specificity.

                                          15           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          16   particular time period and/or geographic area relevant to the case. Twitch objects to this request as

                                          17   vague and ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll

                                          18   Documents showing Your use of Cache-Busting using content-based identifiers with Content-

                                          19   Based ETags or Fingerprints on the home page of Your website” without connection to any accused

                                          20   functionality in the case. Twitch objects to this request as unreasonably duplicative and/or

                                          21   redundant of Request Nos. 9, 14, 17-18, 43, 45, 78, 97, 108 and 110.

                                          22           Subject to and without waiving any objections, Twitch responds as follows:

                                          23           Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                          24   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                          25   algorithm and that renders the name of a file dependent on the contents of the file or ETags

                                          26   calculated based on contents of a corresponding file during the time period of September 14, 2012

                                          27   to December 26, 2016 for the United States, to the extent such documents exist in Twitch’s

                                          28   possession, custody, or control and can be identified upon a reasonable search, and have not already

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             48                     CASE NO. 5:18-md-02834-BLF
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                                           1   been produced in response to prior requests.

                                           2           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           3   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           4   appropriate.

                                           5   REQUEST FOR PRODUCTION NO. 112:

                                           6           All Documents showing Your costs and the amount of money You spent on bandwidth to

                                           7   serve content during the Relevant Time Period.

                                           8   RESPONSE TO REQUEST FOR PRODUCTION NO. 112:

                                           9           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          10   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          11   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          12   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
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                                          13   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          14   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          15   applicable order of the Court.

                                          16           Twitch objects to this request to the extent it seeks information that is subject to any

                                          17   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          18   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          19   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          20   users. Twitch does not intend to provide such information without the consent of the relevant

                                          21   persons or a court order.

                                          22           Twitch objects to this request as it seeks information that is neither relevant to any claim

                                          23   or defense in this action nor proportional to the needs of the case. “All Documents showing Your

                                          24   costs and the amount of money You spent on bandwidth to serve content” is not limited to the

                                          25   accused technology and thus is not relevant to any claims or defenses in this dispute.

                                          26           Twitch objects to the terms Your and You on the bases identified in the General Objections

                                          27   above and incorporates those bases herein. Twitch will interpret these terms to refer to Twitch

                                          28   Interactive, Inc. only.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             49                       CASE NO. 5:18-md-02834-BLF
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                                           1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           2   and unintelligible. For example, Twitch objects to the undefined phrases “bandwidth” and “serve

                                           3   content” as vague and ambiguous, overly broad, unduly burdensome, and not proportional to the

                                           4   needs of the case, as they do not identify the items or features with specificity.

                                           5          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           6   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                           7   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                           8   showing Your costs and the amount of money You spent on bandwidth to serve content” without

                                           9   connection to any accused functionality in the case.

                                          10          Subject to and without waiving any objections, Twitch responds as follows:

                                          11          Twitch has already produced non-privileged, non-protected documents sufficient to show

                                          12   Twitch’s revenue, costs, and pricing for Twitch.tv during the time period of September 14, 2012 to
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                                          13   December 26, 2016 for the United States.

                                          14          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          15   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          16   appropriate.

                                          17   REQUEST FOR PRODUCTION NO. 113:

                                          18          All Documents showing Your options to acquire bandwidth to serve content from Your

                                          19   website during the Relevant Time Period, including documents identifying those options and costs

                                          20   associated therewith.

                                          21   RESPONSE TO REQUEST FOR PRODUCTION NO. 113:

                                          22          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          23   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          24   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          25   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          26   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                          27   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          28   applicable order of the Court.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             50                      CASE NO. 5:18-md-02834-BLF
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                                           1           Twitch objects to this request to the extent it seeks information that is subject to any

                                           2   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           3   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           4   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           5   users. Twitch does not intend to provide such information without the consent of the relevant

                                           6   persons or a court order.

                                           7           Twitch objects to this request as it seeks information that is neither relevant to any claim or

                                           8   defense in this action nor proportional to the needs of the case. “All Documents showing Your

                                           9   options to acquire bandwidth to serve content from Your website” is not limited to the accused

                                          10   technology and this is not relevant to any claims or defenses in this dispute.

                                          11           Twitch objects to the terms Your and You on the bases identified in the General Objections

                                          12   above and incorporates those bases herein. Twitch will interpret these terms to refer to Twitch
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                                          13   Interactive, Inc. only.

                                          14           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          15   and unintelligible. For example, Twitch objects to the undefined phrases “acquire bandwidth,”

                                          16   “serve content,” and “Your website” as vague and ambiguous, overly broad, unduly burdensome,

                                          17   and not proportional to the needs of the case, as they do not identify the items or features with

                                          18   specificity.

                                          19           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          20   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          21   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          22   showing Your options to acquire bandwidth to serve content from Your website” without connection

                                          23   to any accused functionality in the case.

                                          24           Subject to and without waiving any objections, Twitch responds as follows:

                                          25           Twitch has already produced non-privileged, non-protected documents sufficient to show

                                          26   the cost of operation of the www.twitch.tv website during the time period of September 14, 2012

                                          27   to December 26, 2016 for the United States, to the extent such documents exist in Twitch’s

                                          28   possession, custody, or control and can be identified upon a reasonable search.

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             51                      CASE NO. 5:18-md-02834-BLF
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                                           1          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           2   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           3   appropriate.

                                           4   REQUEST FOR PRODUCTION NO. 114:

                                           5          All Documents regarding the data structure that stored URIs in Your Accused

                                           6   Instrumentality during the Relevant Time Period.

                                           7   RESPONSE TO REQUEST FOR PRODUCTION NO. 114:

                                           8          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                           9   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          10   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                          11   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                          12   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
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                                          13   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                          14   applicable order of the Court.

                                          15          Twitch objects to this request to the extent it seeks information that is subject to any

                                          16   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                          17   to any third party. Twitch further objects to this request to the extent that it purports to require

                                          18   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                          19   users. Twitch does not intend to provide such information without the consent of the relevant

                                          20   persons or a court order.

                                          21          Twitch objects to this request to the extent it seeks information equally available to

                                          22   PersonalWeb in the public domain.

                                          23          Twitch objects to the term “Accused Instrumentality” on the basis identified in the

                                          24   General Objections above and incorporates those bases herein. Twitch will interpret “Accused

                                          25   Instrumentality” as Twitch.tv only.

                                          26          Twitch objects to this request as overbroad, unduly burdensome, vague, ambiguous,

                                          27   exceeding the boundaries of discoverable information, failing to describe the information sought

                                          28   with the required reasonable particularity, not proportional to the needs of the case, and/or seeking

                                                TWITCH’S RESPONSES AND OBJECTIONS TO            52                      CASE NO. 5:18-md-02834-BLF
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                                           1   information that is not relevant to any claim or defense in this action to the extent that it seeks

                                           2   information about the aspects of the accused technology not specifically accused in PersonalWeb’s

                                           3   Infringement Contentions.

                                           4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                           5   and unintelligible. For example, Twitch objects to the undefined phrase “data structure” as vague

                                           6   and ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as

                                           7   it does not identify the item or feature with specificity.

                                           8          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                           9   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          10   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          11   regarding the data structure that stored URIs in Your Accused Instrumentality” without connection to

                                          12   any accused functionality in the case.
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                                          13          Subject to and without waiving any objections, Twitch responds as follows:

                                          14          Twitch has already made available for inspection, pursuant to the terms of the protective

                                          15   order, source code reflecting the operation of the accused Twitch.tv website available in the United

                                          16   States, including the revisions to that code that existed between September 14, 2012 through

                                          17   December 26, 2016.

                                          18          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                          19   amend, or modify its response to this request as additional facts are learned and as otherwise

                                          20   appropriate.

                                          21   REQUEST FOR PRODUCTION NO. 115:

                                          22          All Documents regarding the transmission of HTTP 200 or HTTP 304 messages in response

                                          23   to HTTP Conditional GET Requests by Your Accused Instrumentality during the Relevant Time

                                          24   Period, including server logs showing the date or time stamping of the same.

                                          25   RESPONSE TO REQUEST FOR PRODUCTION NO. 115:

                                          26          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                          27   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                          28   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                                TWITCH’S RESPONSES AND OBJECTIONS TO              53                    CASE NO. 5:18-md-02834-BLF
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                                           1   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                           2   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                           3   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                           4   applicable order of the Court.

                                           5          Twitch objects to this request to the extent it seeks information that is subject to any

                                           6   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                           7   to any third party. Twitch further objects to this request to the extent that it purports to require

                                           8   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                           9   users. Twitch does not intend to provide such information without the consent of the relevant

                                          10   persons or a court order.

                                          11          Twitch objects to the term “Accused Instrumentality” on the basis identified in the General

                                          12   Objections above and incorporates those bases herein.              Twitch will interpret “Accused
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                                          13   Instrumentality” as Twitch.tv only.

                                          14          Twitch objects to this request because it is grossly overbroad and is not relevant to any issue

                                          15   in this case. For example, the request on its face seeks information relating to web servers that

                                          16   Twitch relies on, including their location, even if servers are not directly related to provision of the

                                          17   specific Twitch.tv services and features accused in this litigation. Twitch’s use of web server

                                          18   networks, without specific limitations to Twitch.tv, is not relevant to this case.

                                          19          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                          20   and unintelligible. For example, Twitch objects to the undefined phrase “server logs” as vague and

                                          21   ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as it

                                          22   does not identify the item or feature with specificity.

                                          23          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                          24   particular geographic area relevant to the case. Twitch objects to this request as vague and

                                          25   ambiguous, overly broad, unduly burdensome, and unintelligible in that it seeks “[a]ll Documents

                                          26   regarding the data structure that stored URIs in Your Accused Instrumentality” without connection to

                                          27   any accused functionality in the case.

                                          28          Subject to and without waiving any objections, Twitch responds as follows:

                                                TWITCH’S RESPONSES AND OBJECTIONS TO             54                       CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
                                               Case 5:18-cv-05619-BLF Document 46-3 Filed 08/23/19 Page 57 of 59



                                           1          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                           2   processing of HTTP 200 or HTTP 304 messages supported by Twitch.tv during the time period of

                                           3   September 14, 2012 to December 26, 2016 for the United States, to the extent such documents exist

                                           4   in Twitch’s possession, custody, or control, can be identified upon a reasonable search, and have

                                           5   not yet been produced.

                                           6          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                           7   amend, or modify its response to this request as additional facts are learned and as otherwise

                                           8   appropriate.

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                                          10                                               Respectfully submitted,
                                          11   Dated: July 31, 2019                        FENWICK & WEST LLP

                                          12
F ENWICK & W EST LLP




                                                                                           By: /s/ Saina Shamilov
                       ATTORNEYS AT LAW




                                          13
                                                                                               J. David Hadden (CSB No. 176148)
                                          14                                                   Saina S. Shamilov (CSB No. 215636)
                                                                                               Todd R. Gregorian (CSB No. 236096)
                                          15                                                   Ravi R. Ranganath (CSB No. 272981)
                                                                                               Shannon E. Turner (CSB No. 310121)
                                          16                                                   Chieh Tung (CSB No. 318963)

                                          17
                                                                                               Counsel for
                                          18                                                   TWITCH INTERACTIVE, INC.

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                                                TWITCH’S RESPONSES AND OBJECTIONS TO          55                     CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                 CASE NO. 5:18-cv-05619-BLF
                                               Case 5:18-cv-05619-BLF Document 46-3 Filed 08/23/19 Page 58 of 59



                                           1                                    CERTIFICATE OF SERVICE

                                           2          The undersigned declares as follows:

                                           3          I am a citizen of the United States and employed in Santa Clara County, State of

                                           4   California. I am over the age of eighteen years and not a party to the within-entitled action. My

                                           5   business address is Fenwick & West LLP, 801 California Street, Mountain View, CA 94041. On

                                           6   the date set forth below, I served a copy of the following document(s):

                                           7              RESPONSES AND OBJECTIONS OF TWITCH INTERACTIVE, INC.
                                                          TO PERSONALWEB TECHNOLOGIES, LLC’S THIRD SET OF
                                           8              REQUESTS FOR PRODUCTION (NOS. 84–115)
                                           9
                                               on the interested parties in the subject action by placing a true copy thereof as indicated below,
                                          10
                                               addressed as follows:
                                          11
                                                Michael A. Sherman                                Jose L. Patino
                                          12    Jeffrey F. Gersh                                  Christopher C. Bolten
F ENWICK & W EST LLP




                                                Sandeep Seth                                      FOLEY & LARDNER LLP
                       ATTORNEYS AT LAW




                                          13    Wesley W. Monroe                                  3579 Valley Center Drive, Suite 300
                                                Stanley H. Thompson, Jr.                          San Diego, CA 92130
                                          14    Viviana Boero Hedrick                             Email: jpatino@foley.com
                                                STUBBS, ALDERTON & MARKLES, LLP                            cbolten@foley.com
                                          15    15260 Ventura Blvd., 20th Floor
                                                Sherman Oaks, CA 91403
                                          16    Email: masherman@stubbsalderton.com
                                                         jgersh@stubbsalderton.com
                                          17             sseth@stubbsalderton.com
                                                         wmonroe@stubbsalderton.com
                                          18             sthompson@stubbsalderton.com
                                                         vhedrick@stubbsalderton.com
                                          19
                                                Theodore Stephen Maceiko
                                          20    MACEIKO IP
                                                420 2nd Street
                                          21    Manhattan Beach, CA 90266
                                                Email: ted@maceikoip.com
                                          22

                                          23         BY US MAIL: by placing the document(s) listed above in a sealed envelope for
                                                      collection and mailing following our ordinary business practices. I am readily familiar
                                          24          with our ordinary business practices for collecting and processing mail for the United
                                                      States Postal Service, and mail that I place for collection and processing is regularly
                                          25          deposited with the United States Postal Service that same day with postage prepaid.

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                                                TWITCH’S RESPONSES AND OBJECTIONS TO            56                       CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                     CASE NO. 5:18-cv-05619-BLF
                                               Case 5:18-cv-05619-BLF Document 46-3 Filed 08/23/19 Page 59 of 59



                                           1         BY OVERNIGHT COURIER: by placing the document(s) listed above in a sealed
                                                      envelope with a prepaid shipping label for express delivery and causing such envelope to
                                           2          be transmitted to an overnight delivery service for delivery by the next business day in the
                                                      ordinary course of business.
                                           3         BY FACSIMILE: by causing to be transmitted via facsimile the document(s) listed
                                                      above to the addressee(s) at the facsimile number(s) set forth above.
                                           4
                                                     BY E-MAIL: by causing to be transmitted via e-mail the document(s) listed above to the
                                           5          addressee(s) at the e-mail address(es) listed above.
                                                     BY PERSONAL DELIVERY: by causing to be personally delivered the document(s)
                                           6          listed above to the addressee(s) at the address(es) set forth above.
                                           7

                                           8          I declare under penalty of perjury under the laws of the State of California and the United

                                           9   States that the above is true and correct.

                                          10   Date: July 31, 2019

                                          11
                                                                                                 /s/ Crystal Nwaneri
                                          12                                                     Crystal Nwaneri
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                                TWITCH’S RESPONSES AND OBJECTIONS TO           57                      CASE NO. 5:18-md-02834-BLF
                                                THIRD SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
